Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 1 of 25




                 Exhibit D
                        to
           Defendant’s Notice of Removal
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 2 of 25




                                                                    May 7, 2019



   VIA HAND DELIVERY

   Crowe Horwath LLP
   SERVE: CT Corporation System, Registered Agent
   28 Liberty Street
   New York, New York 10005

           Re:     Subpoena in In re: Miami Metals I, Inc., et al., Case No. 18-13359 (Bankr.
                   S.D.N.Y.) (SHL)

   Dear Sir or Madam:

           Enclosed please find a subpoena, issued on behalf of parties in interest, Argonaut Gold,
   Inc. and First Majestic Silver Corp., for the appearance at a deposition of a person with
   knowledge of information known or reasonably available to Crowe Horwath LLP of matters
   identified in Exhibit A to the attached subpoena. Please note that such person must appear for a
   deposition at LeClairRyan PLLC, 885 Third Avenue, 16th Floor, New York, New York, 10022
   on Thursday, June 20, 2019 at 10:00 a.m.

          Please note that the deponent must also produce the requested documents shown on
   Exhibit B to the attached subpoena, and deliver the documents at the time he/she appears for the
   deposition at 10:00 a.m. on Thursday, June 20, 2019.

           Enclosed herewith is a copy of the First Amended Order Approving Uniform Procedures
   for Resolution of Ownership Disputes [ECF No. 913] to provide context regarding this matter.
   Please note that this Order will be supplemented by a Second Amended Order, which among
   other things extends the April 30, 2019 date in paragraph 3(h) to May 7, 2019. Once the Second
   Amended Order is entered by the Court, we will provide you with a copy under separate cover.




   E-mail: Janice.Grubin@leclairryan.com                                                                   885 Third Avenue, Sixteenth Floor
   Direct Phone: (212) 634-5016                                                                                   New York, New York 10022
   Direct Fax: (212) 634-5062                                                                    Phone: (212) 697-6555 \ Fax: (212) 986-3509
                     CALIFORNIA \ CONNECTICUT \ DELAWARE \ FLORIDA \ GEORGIA \ ILLINOIS \ MARYLAND \ MASSACHUSETTS \ MICHIGAN \ NEW JERSEY
                                         NEW YORK \ PENNSYLVANIA \ RHODE ISLAND \ TEXAS \ VIRGINIA \ WASHINGTON, D.C.
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 3 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 4 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 5 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 6 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 7 of 25



                                             EXHIBIT A



          You are hereby commanded to appear at the time, date, and place set forth in the

   Subpoena to testify at a deposition regarding the following matters:

          1.      Any audits, physical inventory counts, or inventory reports, regarding the

                  Debtors’ assets, produced or performed from January 1, 2014 to present.
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 8 of 25
                                           EXHIBIT B


                                  DOCUMENTS REQUESTED

          You are hereby commanded to produce all of the following documents, as defined below,
   which are in your possession or under your control:

          1.     Any and all documents and communications with the Debtors and/or Senior
                 Lenders concerning or relating to any physical inventory count of the Debtors’
                 assets that was conducted from January 1, 2014 to present;

          2.     Any and all inventory reports You prepared for and produced to the Debtors or
                 Senior Lenders from January 1, 2014 to present;

          3.     Any and all documents and communications relating to any audits You performed
                 of the Debtors’ assets, including inventory, from January 1, 2014 to present; and

          4.     Any and all documents and communications relating to the metals originating
                 from Argonaut Gold Inc. and First Majestic Silver Corp., including, but not
                 limited to, documents and communications concerning or relating to the following
                 customer or pool account numbers: 3053, 3711, 3911, 3574, and 3575, from
                 January 1, 2014 to present.
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 9 of 25



                                           DEFINITIONS

          For the purposes of the foregoing, unless specifically indicated otherwise, the following

   terms shall have the indicated meanings:

          1.      “Communicate” or “communication” means and is defined to include every

   manner of disclosure or exchange, and every disclosure or exchange, of information, whether

   orally or by document or whether face-to-face, by telephone, mail, personal delivery, facsimile,

   e-mail, voice mail, or otherwise.

          2.      “Concerning” shall mean in whole or in part, and directly or indirectly, referring

   to, relating to, connected with, commenting on, responding to, showing, describing, analyzing,

   reflecting, constituting, embodying and mentioning.

          3.      “Debtors” means Miami Metals I, Inc. (f/k/a Republic Metals Refining

   Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036; Miami Metals II,

   Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054; Miami

   Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd Street, Miami

   Gardens, FL 33014; Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th

   Avenue, Miami, FL 33054; Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th

   Avenue, Miami, FL 33054; Miami Metals VI LLC (f/k/a RMC Diamonds, LLC), 12900 NW

   38th Avenue, Miami, FL 33054; Miami Metals VII LLC (f/k/a RMC2, LLC), 12900 NW 38th

   Avenue, Miami, FL 33054; Miami Metals VIII LLC (f/k/a Republic High Tech Metals, LLC),

   13001 NW 38 Avenue, Miami, FL 33054; Republic Metals Trading (Shanghai) Co., Ltd., 276

   Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China; and Republic Trans Mexico

   Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,

   Delegación Cuauhtémoc, Mexico DF 6000.




                                                  2
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 10 of 25



           4.      “Document” or “documents” is to be defined and applied in response to these

    requests in the broadest possible sense and shall have the same scope and meaning as is set forth

    and applied in the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure,

    and the Federal Rules of Evidence. Without limiting the generality of the foregoing, the terms

    “document” and “documents” are defined and means the original, drafts, revisions, and non-

    duplicate copies (including drafts and copies bearing notations or marks not found on the original

    or other copies) of any written, typed, printed, recorded, magnetic, graphic, electronic, or other

    form of memorialization or communication, and specifically including without limiting the scope

    of the definition, all of your internal memoranda, notes, calendars, memos, messages (including

    notes and memoranda of telephone conversations), photographs, drawings, audiotapes,

    videotapes, films, minutes, diaries, reports, computer records, tapes, discs, e-mails or other

    computer files of any kind, correspondence, records, invoices, purchase orders, agreements,

    checks, and all other writings, recordings, or information sources of whatever description,

    irrespective of the author or sender of such document and whether or not such documents are

    claimed to be privileged against discovery on any ground.

           5.       “Relating to” or “relates to” means, without limitation, discussing, embodying,

    mentioning, concerning, pertaining, referring or relating directly or indirectly to the subject

    matter identified in the interrogatory or request.

            6.     “Senior Lenders” means Coöperatieve Rabobank U.A., New York Branch, Brown

    Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC

    Standard Bank Plc, Techemet Metal Trading LLC, Woodforest National Bank and Bank Leumi

    USA.

           7.       “You” or “your” means the party to whom this discovery is directed, its agents,




                                                         3
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 11 of 25



    officers, directors, employees, representatives, or attorneys acting on behalf of you.

           8.      The term “or” includes “and.”

           9.      The term “any” includes “all.




                                                     4
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 12 of 25



                                             INSTRUCTIONS

            1.      The documents covered by this request include all documents in your possession,

    custody or control.

            2.      Each request for the production of documents shall be deemed to be continuing in

    nature. If at any time additional documents come into your possession, custody or control or are

    brought to your attention, prompt supplementation of your response to these requests is required.

            3.      You shall produce all documents in the manner in which they are maintained in

    the usual course of your business and/or you shall organize and label the documents to

    correspond with the categories in this request.

            4.      If and to the extent documents are maintained in a database or other electronic

    format, you shall produce along with the document(s) software that will enable access to the

    electronic document(s) or database as you would access such electronic document(s) or database

    in the ordinary course of your business.

            5.      Documents shall be produced in such fashion as to identify the department,

    branch or office in which they were located and, where applicable, the natural person in whose

    possession it was found and the business address of each document’s custodian(s).

            6.      Any document withheld from production based on a claim of privilege or any

    similar claim shall be identified by (a) the type of document, (b) the general subject matter of the

    document, (c) the date of the document, and (d) such other information as is sufficient to identify

    the document including the author of the document, the addressee of the document, and, where

    not apparent, the relationship of the author and the addressee to each other. The nature of each

    claim of privilege shall be set forth.

            7.      Documents attached to each other should not be separated.




                                                      5
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 13 of 25



           8.      Documents not otherwise responsive to this discovery request shall be produced if

    such documents mention, discuss, refer to, or explain the documents that are called for by this

    discovery request.

           9.      The fact that another party produces a document does not relieve you of the

    obligation to produce your copy of the same document, even if the two documents are identical.

           10.     In producing documents and other materials, you are requested to furnish all

    documents or things in your possession, custody or control, regardless of whether such

    documents or materials are possessed directly by you or your directors, officers, agents,

    employees, representatives, subsidiaries, managing agents, affiliates, accountants, investigators,

    or by your attorneys or their agents, employees, representatives or investigators.

           11.     If you object to any part of any request, you shall state fully the nature of the

    objection. Notwithstanding any objections, you shall nonetheless comply fully with the other

    parts of the request not objected to.

           12.     Each document request shall be construed independently and not with reference to

    any other document request for the purpose of limitation.




                                                     6
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 14 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 15 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 16 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 17 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 18 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 19 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 20 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 21 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 22 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 23 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 24 of 25
Case 1:19-cv-23100-DPG Document 1-10 Entered on FLSD Docket 07/25/2019 Page 25 of 25
